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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

MERCK & CO., INC., and
MERCK SHARP & DOHME LLC,

                   Plaintiffs,
                                                              Civ. No. 1:23-01615 (CKK)
       v.

XAVIER BECERRA, U.S. Secretary of Health &
                                                              Plaintiffs’ Response to Notice of
Human Services, et al.
                                                              Supplemental Authority
                   Defendants.


       Defendants are correct that the District of New Jersey, in an unpublished decision earlier

this week, rejected the same constitutional challenges to the Program that Plaintiffs have advanced

here. Dkt. 68. Bristol Myers Squibb Co. and Janssen Pharmaceuticals, Inc. have already noticed

appeals from that final judgment. For all of the reasons already laid out in Plaintiffs’ briefing, the

District of New Jersey’s decision is legally erroneous, and this Court should not follow it.

       Whether this Court agrees or disagrees with the District of New Jersey, however, Plaintiffs

respectfully reiterate their request for a ruling on the pending cross-motions as soon as practicable.

As the Court is aware, this case presents serious constitutional challenges to a major, novel federal

program. It is a certainty that the non-prevailing party will appeal to the D.C. Circuit, and review

by the Supreme Court may well be warranted too. To ensure adequate time for the appellate courts

to consider these issues before January 2026, when the Program’s regime of forced sales at HHS-

dictated discounts is scheduled to take effect for the first set of covered drugs, Plaintiffs ask the

Court to give priority consideration to resolving this case—just as the Southern District of Ohio,

District of Delaware, and District of New Jersey have done for the related cases that were filed in

those courts (and all of which were filed after this case).
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Dated: May 3, 2024                 Respectfully submitted,

                                   /s/ Yaakov M. Roth
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